                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

IN RE:                                                                       CASE NO. 17-51014

KNIGHT ENERGY HOLDINGS, LLC, ET AL.1                                         (JOINTLY ADMINISTERED)

         DEBTORS                                                             CHAPTER 11

                                                                             JUDGE ROBERT SUMMERHAYS

         MOTION FOR AN ORDER AUTHORIZING THE DEBTORS TO
    REJECT THE FARM AND RANCH CONTRACT ENTERED INTO BETWEEN
     EL CABALLERO RANCH, INC. AND LASALLE RIVER RANCH, LLC AND
                          RELATED RELIEF

         Knight Energy Holdings, LLC, Knight Oil Tools, LLC, Knight Manufacturing,

LLC, KDCC, LLC f/k/a Knight Well Services, LLC, Tri-Drill, LLC, Advanced Safety &

Training Management, LLC, Knight Security, LLC, Knight Information Systems, LLC,

El Caballero Ranch, Inc. (“El Caballero”), Rayne Properties, LLC, Knight Aviation,

LLC; Knight Research & Development, LLC; Knight Family Enterprises, LLC, HMC

Leasing, LLC; and HMC Investments, LLC (collectively, the “Debtors”), by and through

their undersigned counsel, hereby file this motion (the “Motion”), requesting entry of an

order authorizing the Debtors to reject the Farm and Ranch Contract (“Purchase

Agreement”) as entered into between El Caballero and LaSalle River Ranch, LLC


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, are Knight Energy Holdings, LLC (1930) (Case No. 17-51014); Knight Oil Tools, LLC (2667) (Case
No. 17-51015); Knight Manufacturing, LLC (0600) (Case No. 17-51016); KDCC, LLC, f/k/a Knight Well
Services, LLC (4156) (Case No. 17-51017); Tri-Drill, LLC (4957) (Case No. 17-51018); Advanced Safety &
Training Management, LLC, (0510) (Case No. 17-51019); Knight Security, LLC (0923) (Case No. 17-51020);
Knight Information Systems, LLC (9787) (Case No. 17-51021); El Caballero Ranch, Inc. (7345) (Case No. 17-
51022); Rayne Properties, LLC (7235) (Case No. 17-51023); Knight Aviation, LLC (3329) (Case No. 17-51024);
Knight Research & Development, LLC (3760) (Case No. 17-51025); Knight Family Enterprises, LLC (7190) (Case
No. 17-51026); HMC Leasing, LLC (0814) (Case No. 17-51027) and HMC Investments, LLC (8254) (Case No.
17-51029). The Debtors’ service address is 2727 SE Evangeline Thruway, Lafayette, Louisiana 70508 other than
Knight Manufacturing, LLC and Advanced Safety & Training Management, LLC. Knight Manufacturing, LLC’s
service address is 2810-A Melancon Road, Broussard, Louisiana 70518 and Advanced Safety & Training
Management, LLC’s service address is 2725 SE Evangeline Thruway, Lafayette, Louisiana 70508.

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(“LaSalle”) and granting related relief. In support of the Motion, the Debtors respectfully

state as follows:

                                    BACKGROUND

       1.      On August 8, 2017 (the “Petition Date”), each of the Debtors filed a

voluntary petition for relief under Chapter 11 of the Bankruptcy Code. The Debtors

continue to manage and operate their businesses as debtors-in-possession pursuant to

Bankruptcy Code §§ 1107 and 1108.

       2.      No trustee or examiner has been requested or appointed in any of these

Chapter 11 cases. On August 24, 2017, an official committee of unsecured creditors was

appointed in these Chapter 11 cases.

       3.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This Motion concerns the administration of the Debtors’ estates; and therefore,

it is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this Court

pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief requested

herein are 11 U.S.C. §§ 105(a) and 365(a), and Fed. R. Bankr. P. 6006.

       4.      El Caballero owns real property located in LaSalle County, Texas,

described as 10,247.552 acres and comprised of multiple tracts (the “Property”).

       5.      Cantor Fitzgerald Securities, as administrative agent on behalf of the

Secured Credit Facility Lenders, holds a first priority mortgage against the Property.

       6.      On or about January 15, 2016, El Caballero entered into a purported

Purchase Agreement with LaSalle to sell the Property and improvements thereon to

LaSalle. The Purchase Agreement is attached hereto as Exhibit “A”.




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       7.      In connection with the Purchase Agreement, the broker for LaSalle was

John Wallace (Republic Ranches) and the broker for El Caballero was Mark Hubbard

(collectively with John Wallace, the “Brokers”).

       8.      In connection with the Purchase Agreement, LaSalle delivered to the title

company a check in the amount of $10,000 for the Option Fee (as defined in the Purchase

Agreement). El Caballero never negotiated that check.

       9.      The Debtors believe (1) the Purchase Agreement was never finalized (the

deposit check of $10,000 was never negotiated and the parties have not treated the

Purchase Agreement as being in effect), or (2) if the Purchase Agreement was originally

effective, it has been terminated or otherwise abandoned by the parties or is subject to

termination at will. However, out of an abundance of caution, to the extent the Purchase

Agreement is in effect and has not been terminated or abandoned under applicable state

law or is not terminable at will (and while reserving all rights and defenses with respect

thereto), the Debtors seek to reject the Purchase Agreement under 11 U.S.C. §365.

                                RELIEF REQUESTED

       10.     By this Motion, to the extent the Purchase Agreement is in effect and has

not been terminated or abandoned under applicable state law or is not terminable at will

(and while reserving all rights and defenses with respect thereto), the Debtors seek entry

of an order rejecting the Purchase Agreement under Section 365(a) effective

immediately.

       11.     The Debtors further seek a determination as part of the order of rejection

of the Purchase Agreement that: (a) the provisions of Sections 365(h), (i) and (j) are not

applicable to the Purchase Agreement, and (b) upon rejection, the Property shall be free



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and clear of any and all liens, claims, rights of use or access, and encumbrances of any

kind or nature in favor of or asserted by LaSalle and/or the Brokers (and any other party

who may assert derivative claims or rights through them) arising from the Purchase

Agreement or as a result of its rejection.

                              BASIS FOR RELIEF REQUESTED

     A. Rejection of the Purchase Agreement

        12.      Section 365(a) of the Bankruptcy Code provides in relevant part that a

debtor, “subject to the court’s approval, may assume or reject any executory contract or

unexpired lease of the debtor.” Bankruptcy courts use the business judgment standard to

determine whether to approve rejection of a contract. See Richmond Leasing Co. v.

Capital Bank, N.A., 762 F.2d 1303, 1309 (5th Cir. 1985) (quoting Group of Institutional

Investors v. Chicago, Milwaukee, St. Paul & Pac. R.R. Co., 318 U.S. 523, 550 (1943))

(“It is well established that ‘the question whether a [contract] should be rejected . . . is

one of business judgment.’”).

        13.      As noted above, the Debtors believe the Purchase Agreement was never

finalized or in the event it was originally effective, has been terminated2 or otherwise

abandoned by the parties under state law, or is subject to termination at will. However, to

the extent the Purchase Agreement has not been terminated or abandoned, or is not


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  For example, the Debtors believe the Purchase Agreement has an indefinite duration; accordingly, under
Texas law, the Purchase Agreement may be terminable at will. See Kennedy v. McMullen, 39 S.W.2d 168,
174 (Tex. Civ. App. 1931), writ refused (July 22, 1931). (“As a general proposition a contract indefinite as
to the time of its performance may be terminated by either party by giving notice of his intention to do
so.”); Clear Lake City Water Auth. v. Clear Lake Utilities Co., 549 S.W.2d 385, 390 (Tex. 1977) (“The rule
which we regard as controlling is that contracts which contemplate continuing performance (or successive
performances) and which are indefinite in duration can be terminated at the will of either party.”). This
Motion is intended to constitute notice of the intention of the Debtors under state law to terminate the
Purchase Agreement and return the deposit check to Lasalle (which as noted has never been negotiated).



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subject to termination at will under applicable state law, the Debtors seek to reject the

Purchase Agreement effective immediately pursuant to Section 365(a) of the Bankruptcy

Code.

         14.    The purchase price of $16,396,083.00 stated in the Purchase Agreement is

less than what the Property is worth and the Debtors believe it is in their best interests to

reject the Purchase Agreement. See Rivercity v. Herpel, et. al. (Matter of Jackson

Brewing Company), 567 F.2d 618 (5th Cir. 1978) (Fifth Circuit affirmed decision

authorizing rejection of option to purchase real estate as burdensome executory contract

where value of property was greater than the purchase price). Through an exercise of

their business judgment, the Debtors wish to reject the Purchase Agreement. Debtors

submit that such rejection is in the best interest of the Debtors and other parties in

interest, including the Senior Secured Credit Facility Lenders.

      B. Rejection of Executory Contract for Sale of Real Property

15.      The Debtors further seek a determination that: (a) the provisions of Sections

365(h), (i) and (j) are not applicable to the Purchase Agreement, and (b) upon rejection,

the Property shall be free and clear of any and all liens, claims, rights of use or access,

and encumbrances of any kind or nature in favor of or asserted by LaSalle and/or the

Brokers (and any other party who may assert derivative claims or rights through them)

arising from the Purchase Agreement or as a result of its rejection.

         16.    Sections 365(i)-(j) provide special remedies to a non-debtor counterparty

to an executory contract for the sale of real property depending on whether the non-

debtor party is in possession of the real property.

         17.    Specifically, Sections 365(i) and (j) provide:



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        (i)(1) If the trustee rejects an executory contract of the debtor for the sale
       of real property…, under which the purchaser is in possession, such
       purchaser may treat such contract as terminated, or, in the alternative, may
       remain in possession of such real property….

       (2) If such purchaser remains in possession—

               (A) such purchaser shall continue to make all payments due under such
       contract, but may, offset against such payments any damages occurring after the
       date of the rejection of such contract caused by the nonperform-ance of any
       obligation of the debtor after such date, but such purchaser does not have any
       rights against the estate on account of any damages arising after such date from
       such rejection, other than such offset; and

              (B) the trustee shall deliver title to such purchaser in accordance with the
       provisions of such contract, but is relieved of all other obligations to perform
       under such contract.

11 U.S.C. §365(i).

       A purchaser that treats an executory contract as terminated under
       subsection (i) of this section, or a party whose executory contract to
       purchase real property from the debtor is rejected and under which such
       party is not in possession, has a lien on the interest of the debtor in such
       property for the recovery of any portion of the purchase price that such
       purchaser or party has paid.
11 U.S.C. §365(j).
       18.     Here, the Purchase Agreement purports to be one for an option for the sale

of real property, and LaSalle, the non-debtor counterparty, is not and has never been in

possession of the Property. Therefore, Section 365(i) is inapplicable. Furthermore, since

the Debtors have not negotiated the check for the Option Fee, LaSalle has not paid any

portion of the purchase price and therefore, Section 365(j) is inapplicable and neither

LaSalle nor the Brokers are entitled to a lien on the Property.

       WHEREFORE, the Debtors respectfully request that this Court enter an order (i)

authorizing the rejection of the Purchase Agreement if and to the extent it constitutes a

contract under state law effective immediately pursuant to Section 365(a) of the

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Bankruptcy Code, without prejudice to the Debtors’ defenses to liability for rejection

damages on the grounds that the Purchase Agreement is not a valid and enforceable

contract under state law or is subject to termination at will under applicable state law or

otherwise; (ii) requiring LaSalle to file any rejection damage claims no later than thirty

(30) days after entry of the order approving this Motion; (iii) providing that the

provisions of Section 365(h), (i) and (j) are not applicable to the Purchase Agreement or

the rejection thereof; (iv) ordering that upon entry of the order of rejection, the Property

shall be free and clear of any and all liens, claims, rights of use or access, and

encumbrances of any kind or nature in favor of or asserted by LaSalle and the Brokers

(and any other party who may assert derivative claims or rights through them) arising

from the Purchase Agreement or its rejection, and (v) granting such other and further

relief as is just and proper.

Dated:    October 30, 2017
                                       Respectfully submitted,

                                        /s/ William H. Patrick, III
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